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                                      1
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                                          4640 Admiralty Way, Suite 500
                                      2   Marina Del Rey, CA 90292-6636
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                                      5   tomkielty@earthlink.net

                                      6   Attorney for Plaintiffs,
                                      7
                                                               UNITED STATES DISTRICT COURT
                                      8
                                                              CENTRAL DISTRICT OF CALIFORNIA
                                      9
                                        LEROY FIELDS-CAMPBELL,                     )   CASE NO.
                                     10 individually and on behalf of a            )
                                     11 putative class of similarly-situated       )   COMPLAINT FOR EQUITABLE
                                        individuals,                               )   RELIEF, INJUNCTIVE RELIEF,
THOMAS W. KIELTY, ATTORNEY AT LAW




                                     12                                            )   COMPENSATORY DAMAGES, &
                                                Plaintiffs,                        )   ATTORNEY’S FEES for:
    MARINA DEL REY, CA 90292-6636
    4640 ADMIRALTY WAY, SUITE 500




                                     13
                                                                                   )
         OFFICE (310) 393-0515




                                     14
                                                         v.                        )   1. Violations of Title VII’s
                                     15                                            )   Prohibition Against Disparate Impact
                                          WELLS FARGO, N.A.,                       )   Discrimination
                                     16
                                              Defendant.                           )
                                     17                                            )   2. Violations of Title VII’s
                                                                                   )   Prohibition Against Disparate
                                     18
                                                                                   )   Treatment Discrimination
                                     19                                            )
                                                                                   )   DEMAND FOR JURY TRIAL
                                     20
                                                                                   )
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                                                                        Complaint; Demand for Jury Trial
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                                      1
                                                                    JURISDICTION AND VENUE

                                      2           1.   Plaintiff LeRoy Fields-Campbell seeks compensatory, injunctive, and
                                      3
                                          equitable relief pursuant to Title VII of the Civil Rights Act of 1964 as amended.
                                      4
                                      5   Accordingly, this court has subject matter jurisdiction pursuant to 28 U.S.C. §

                                      6   1331.
                                      7
                                                  2.   Venue is proper under 28 U.S.C. § 1391(b)(1) due to the fact that
                                      8
                                      9   Defendant Wells Fargo is subject to this court’s personal jurisdiction because of its
                                     10   business locations throughout Los Angeles County, including its location on 333 S.
                                     11
                                          Grand Ave., Los Angeles, California, 90071 where Mr. Fields-Campbell reported
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                                     12
                                          to on numerous occasions while working as Wells Fargo’s Regional Nonprofit
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                                     14
                                          Relationship Manager for the California Region.
                                     15
                                                                           INTRODUCTION
                                     16
                                     17           3.   An employer’s policy or practice of using applicants’ or employees’
                                     18
                                          criminal histories to make personnel decisions violates the prohibition against
                                     19
                                          employment discrimination under Title VII of the Civil Rights Act of 1964 (Title
                                     20
                                     21   VII) if the policy or practice has a disproportionate effect against minorities and is
                                     22
                                          not job-related and consistent with business necessity.
                                     23
                                     24
                                                  4.   Employers also violate Title VII if they treat criminal history

                                     25   information differently for different applicants or employees based on their
                                     26
                                          protected status.
                                     27
                                     28


                                                                        Complaint; Demand for Jury Trial
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                                      1
                                                5.     This action challenges Wells Fargo’s violations of Title VII stemming

                                      2   from its use of a criminal background check policy.
                                      3
                                                6.     This action also challenges Wells Fargo’s violations of Title VII due
                                      4
                                      5   to its practice of treating criminal history information differently for different

                                      6   applicants/employees based on their protected status.
                                      7
                                                7.     Wells Fargo’s use of its background check policy was not restricted to
                                      8
                                      9   its employees who worked in California – Wells Fargo implemented this policy at
                                     10   its locations throughout the United States.
                                     11
                                                                              THE PARTIES
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                                     12
                                                8.     Mr. Fields seeks to represent a putative class of African American and
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                                     14
                                          Hispanic employees and applicants who were negatively and disproportionately
                                     15
                                          affected by Wells Fargo’s use of non-job-related criminal history screenings.
                                     16
                                     17         9.     Plaintiff LeRoy Fields-Campbell is a resident of Texas who worked
                                     18
                                          for Wells Fargo as a Regional Nonprofit Relationship Manager for the California
                                     19
                                          Region.
                                     20
                                     21         10.    When working as Wells Fargo’s Regional Nonprofit Relationship
                                     22
                                          Manager for the California Region, Mr. Fields-Campbell spent approximately 85%
                                     23
                                     24
                                          of his working hours in California, even though he resided in Texas.

                                     25         11.    When working for Wells Fargo in California, Mr. Fields-Campbell
                                     26
                                          often reported to Wells Fargo’s office on 333 S. Grand Ave. in Los Angeles.
                                     27
                                     28


                                                                         Complaint; Demand for Jury Trial
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                                      1
                                                12.    Wells Fargo is a federally chartered national banking organization that

                                      2   is organized and exists under the National Banking Act, doing business in Los
                                      3
                                          Angeles, California, with its home office located in South Dakota.
                                      4
                                      5         13.    The acts of which Plaintiffs complain occurred at Wells Fargo

                                      6   locations throughout the United States.
                                      7
                                                14.    This putative class action is an action for declaratory and injunctive
                                      8
                                      9   relief, monetary and compensatory damages, and all such other relief that may be
                                     10   granted pursuant to Title VII.
                                     11
                                                                PROCEDURAL REQUIREMENTS
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                                     12
                                                15.    Prior to filing this action, Mr. Fields-Campbell filed charges of
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                                     14
                                          employment discrimination on the basis of race with the Equal Employment
                                     15
                                          Opportunity Commission.
                                     16
                                     17         16.    Within 90 days of Mr. Fields-Campbell’s receipt of the EEOC’s right-
                                     18
                                          to-sue notice with regards to his claims, Mr. Fields-Campbell filed this complaint.
                                     19
                                                                       SUMMARY OF FACTS
                                     20
                                     21         17.    Plaintiff LeRoy Fields-Campbell is an African American male.
                                     22
                                                18.    In 2001, Mr. Fields-Campbell was convicted of theft for a $20 bad
                                     23
                                     24
                                          check issued in an attempt to pay a water bill for his mother.

                                     25         19.    Years passed by, and Mr. Fields-Campbell was never convicted of any
                                     26
                                          other crimes.
                                     27
                                     28         20.    Mr. Fields-Campbell started working for Wells Fargo in 2000.


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                                      1
                                                21.    Throughout his tenure at Wells Fargo, Mr. Fields-Campbell received

                                      2   positive performance evaluations for his workplace integrity and honesty.
                                      3
                                                22.    In early 2012, Mr. Fields-Campbell received a notification from Wells
                                      4
                                      5   Fargo informing him that he and his team needed to participate in a criminal

                                      6   background check in order to continue employment with Wells Fargo.
                                      7
                                                23.    Unbeknownst to Mr. Fields-Campbell and his team, Wells Fargo was
                                      8
                                      9   implementing a criminal background check policy where the bank intended to fire
                                     10   any employee who was ever convicted of a crime of dishonesty – no matter how
                                     11
                                          long ago a conviction took place.
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                                     12
                                                24.    Specifically, Wells Fargo’s policy/practice was to fire or exclude from
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                                     14
                                          employment any employee or applicant who was convicted of a criminal offense
                                     15
                                          covered by 12 U.S.C. § 1829(a)(1) (commonly referred to as “Section 19” of the
                                     16
                                     17   Federal Deposit Insurance Act) who did not meet the FDIC’s de minimis criteria.
                                     18
                                                25.    Wells Fargo did not notify its employees or applicants of this policy.
                                     19
                                                26.    Wells Fargo did not notify its employees or applicants that the bank
                                     20
                                     21   had the opportunity to engage in the lesser discriminatory alternative practice of
                                     22
                                          obtaining written consent from the FDIC (Section 19 waivers) that would have
                                     23
                                     24
                                          allowed individuals like Mr. Fields-Campbell to return to work without the need

                                     25   for permanent termination.
                                     26
                                     27
                                     28


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                                      1
                                                27.    Wells Fargo knew or should have known that its background check

                                      2   policy would have a disproportionate and adverse impact on its African American
                                      3
                                          and Hispanic employees and applicants.
                                      4
                                      5         28.    On May 7, 2012, Wells Fargo fired Mr. Fields-Campbell pursuant to

                                      6   the company’s criminal background check policy.
                                      7
                                                29.    During his termination meeting, Wells Fargo never told Mr. Fields-
                                      8
                                      9   Campbell that it could engage in the lesser discriminatory alternative practice of
                                     10   sponsoring his Section 19 waiver in order to obtain the FDIC’s permission to
                                     11
                                          continue his employment.
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                                     12
                                                30.    During his termination meeting, Wells Fargo never informed Mr.
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                                     14
                                          Fields-Campbell that he had an opportunity to pursue a waiver that would have
                                     15
                                          made it possible for him to continue working for Wells Fargo.
                                     16
                                     17         31.    Wells Fargo treated Mr. Fields-Campbell less favorably than
                                     18
                                          employees who happened to be white who were subjected to Wells Fargo’s
                                     19
                                          criminal background screening policy.
                                     20
                                     21         32.    Some employees who happened to be white were told how to obtain
                                     22
                                          waivers from the FDIC prior to their terminations. Mr. Fields-Campbell, however,
                                     23
                                     24
                                          was treated differently.

                                     25         33.    Some employees who happened to be white were terminated months
                                     26
                                          after the completion of their criminal background check. Mr. Fields-Campbell,
                                     27
                                     28   however, was treated differently.


                                                                        Complaint; Demand for Jury Trial
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                                      1
                                                34.    Some employees who happened to be white received instructions on

                                      2   how to obtain an exemption from the FDIC that would make them eligible for
                                      3
                                          reemployment during their termination meetings. Mr. Fields-Campbell, however,
                                      4
                                      5   was treated differently.

                                      6         35.    Some employees who happened to be white were promised that they
                                      7
                                          could return to work and retain their seniority if they received Section 19 waiver
                                      8
                                      9   from the FDIC within six months of their suspension. Mr. Fields-Campbell,
                                     10   however, was treated differently.
                                     11
                                                36.    Prior to Mr. Fields-Campbell’s termination, Wells Fargo knew that its
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                                     12
                                          practice of permanently firing employees with Section 19 convictions was not a
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                                     14
                                          necessity because all of its employees had the opportunity to obtain Section 19
                                     15
                                          waivers.
                                     16
                                     17         37.    Prior to Mr. Fields-Campbell’s termination, Wells Fargo knew that its
                                     18
                                          employees’ and applicants’ criminal convictions that occurred in the distant past
                                     19
                                          were not indicative of whether those employees and applicants could perform their
                                     20
                                     21   jobs without committing banking-related crimes.
                                     22
                                                38.    Electing to sponsor waivers on behalf of employees and applicants
                                     23
                                     24
                                          like Mr. Fields-Campbell and electing to tell employees and applicants like Mr.

                                     25   Fields-Campbell about how they could pursue waivers prior to their termination
                                     26
                                          are alternative practices that would have had less of an adverse impact on protected
                                     27
                                     28   classes of employees.


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                                      1
                                                39.    Offering paid or unpaid suspensions of up to six months for

                                      2   employees like Mr. Fields-Campbell to obtain Section 19 waivers was an
                                      3
                                          alternative practice that would have had less of an adverse impact on protected
                                      4
                                      5   classes of employees.

                                      6         40.    Social science supports the fact that African Americans and Hispanics
                                      7
                                          are disproportionately affected by background screening policies that have no
                                      8
                                      9   temporal limitation.
                                     10                              FIRST CAUSE OF ACTION
                                     11
                                                       TITLE VII DISPARATE IMPACT DISCRIMINATION
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                                     12
                                                41.    Plaintiff repleads all other paragraphs provided in this Complaint and
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                                     14
                                          incorporates the same by reference as if fully set forth herein.
                                     15
                                                42.    Wells Fargo’s background check policy has the effect of
                                     16
                                     17   disproportionately screening out African American and Hispanic applicants and
                                     18
                                          employees.
                                     19
                                                43.    Statistical analysis derived from an examination of Wells Fargo’s
                                     20
                                     21   applicant data, workforce data, and third party criminal background screening data
                                     22
                                          will show that African Americans and Hispanics were disproportionately affected
                                     23
                                     24
                                          by Wells Fargo’s use of criminal history screenings.

                                     25         44.    Wells Fargo’s criminal background check policy is not job-related to
                                     26
                                          many positions held by the bank’s employees.
                                     27
                                     28


                                                                        Complaint; Demand for Jury Trial
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                                                45.    No substantive link exists between the Plaintiffs’ past crimes and the

                                      2   risks inherent in the job duties held by Wells Fargo employees.
                                      3
                                                46.    Wells Fargo’s background check policy was not a business necessity
                                      4
                                      5   because Wells Fargo had the option of obtaining waivers for its applicants and

                                      6   employees.
                                      7
                                                47.    Wells Fargo could have implemented less discriminatory alternative
                                      8
                                      9   employment practices that served its legitimate goals as effectively as its criminal
                                     10   history screenings, but Wells Fargo refused to adopt those practices.
                                     11
                                                48.    The named Plaintiff seeks to represent a putative class of African
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                                     12
                                          American and Hispanic applicants and employees who were affected by Wells
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                                     14
                                          Fargo’s use of criminal background screenings for the purposes of compliance with
                                     15
                                          12 U.S.C. § 1829(a)(1).
                                     16
                                     17         49.    Wells Fargo used its criminal background screenings related to
                                     18
                                          Section 19 compliance at its facilities located throughout the United States.
                                     19
                                                50.    Wells Fargo did not violate Title VII merely by its efforts to comply
                                     20
                                     21   with Section 19 – rather, Wells Fargo violated Title VII because it refused to adopt
                                     22
                                          lesser discriminatory alternative employment practices that were compliant with
                                     23
                                     24
                                          Section 19, such as waiver sponsorship, suspension, and notice.

                                     25         51.    As a proximate result of Defendant’s acts and omissions, the named
                                     26
                                          Plaintiff and the putative class he seeks to represent have in the past and will in the
                                     27
                                     28   future suffer damages including, but not limited to, mental and emotional distress,


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                                     1
                                         fear, anguish, humiliation, intimidation, insecurity, embarrassment, lost enjoyment

                                     2   of life, lost wages, benefits, future earnings, punitive damage, and other
                                     3
                                         emoluments of employment.
                                     4
                                     5          52.   In addition, the named Plaintiff and the putative class he seeks to

                                     6   represent are entitled to equitable relief including but not limited to: 1) benefits
                                     7
                                         not measured as compensatory damages, including relief to offset any damage to
                                     8
                                     9   their reputations, 2) injunctive relief prohibiting Defendant Wells Fargo from
                                    10   subjecting future applicants to discriminatory criminal history screenings, 3)
                                    11
                                         injunctive relief requiring Wells Fargo to hire applicants and former employees
THOMAS W. KIELTY, ATTORNEY AT LAW




                                    12
                                         who were screened out of the company’s hiring process due to criminal
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                                    14
                                         background screenings, and 4) other forms of equitable relief available under Title
                                    15
                                         VII.
                                    16
                                    17                            SECOND CAUSE OF ACTION
                                    18
                                                  TITLE VII DISPARATE TREATMENT DISCRIMINATION
                                    19
                                                53.   Plaintiff repleads all other paragraphs provided in this Complaint and
                                    20
                                    21   incorporates the same by reference as if fully set forth herein.
                                    22
                                                54.   Prior to its implementation, Wells Fargo knew that its background
                                    23
                                    24
                                         check policy would result in the termination of a disproportionate number of

                                    25   protected-class individuals, including African American and Hispanic employees.
                                    26
                                                55.   An audit of Wells Fargo’s past practices regarding its use of criminal
                                    27
                                    28   background checks will reveal inconsistencies showing that Wells Fargo was more


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                                     1
                                         likely to give white applicants and employees an avenue to circumvent Wells

                                     2   Fargo’s background check policies than minority applicants and employees.
                                     3
                                               56.    Wells Fargo’s usual, rather than unusual, practice (its standard
                                     4
                                     5   operating procedure) was to give decision-makers discretion in regards to whether

                                     6   they could waive or delay their background screening policy for certain employees
                                     7
                                         and applicants.
                                     8
                                     9         57.    Wells Fargo’s use of that discretion disproportionately affected
                                    10   minority applicants and employees.
                                    11
                                               58.    Wells Fargo’s use of that discretion resulted in employees who
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                                    12
                                         happened to be white being treated more favorably than employees who happened
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                                    14
                                         to be minorities.
                                    15
                                               59.    Statistical analysis derived from an examination of Wells Fargo’s
                                    16
                                    17   applicant data, workforce data, and third party criminal background history data
                                    18
                                         will show that Wells Fargo’s use of discretion in the criminal background
                                    19
                                         screening process weighed more heavily against minority workers.
                                    20
                                    21         60.    In addition to individual treatment claims, the named Plaintiff seeks to
                                    22
                                         represent a putative class of minorities affected by Wells Fargo’s pattern-or-
                                    23
                                    24
                                         practice of allowing hiring supervisors to exercise discretion in their use of

                                    25   criminal background screenings in the hiring process.
                                    26
                                               61.    While the exact number of putative class members is unknown
                                    27
                                    28   because such information is in the exclusive control Wells Fargo, upon information


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                                         and belief there are hundreds, if not thousands, of applicants and former employees

                                     2   who have been the victim of an adverse employment decision taken by Wells
                                     3
                                         Fargo in violation of Title VII because of their Section 19 convictions.
                                     4
                                     5         62.    The claims alleged on behalf of the named plaintiffs raise questions of

                                     6   law and fact common to the putative class.
                                     7
                                               63.    Chief among these questions is whether Wells Fargo had a policy and
                                     8
                                     9   practice of unlawfully refusing to employ the named plaintiffs and the putative
                                    10   class members in violation of Title VII because they have been convicted of a
                                    11
                                         crime where there is no direct relationship between the crime and employment.
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                                    12
                                               64.    As a proximate result of Wells Fargo’s acts and omissions, the named
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                                    14
                                         Plaintiff and the putative class he seeks to represent have in the past and will in the
                                    15
                                         future suffer damages including, but not limited to, mental and emotional distress,
                                    16
                                    17   fear, anguish, humiliation, intimidation, insecurity, embarrassment, lost enjoyment
                                    18
                                         of life, lost wages, benefits, future earnings, and other emoluments of employment.
                                    19
                                               65.    In addition, the named Plaintiff and the putative class they seek to
                                    20
                                    21   represent are entitled to equitable relief including but not limited to: 1) benefits
                                    22
                                         not measured as compensatory damages, including relief to offset any damage to
                                    23
                                    24
                                         their reputations, 2) injunctive relief prohibiting Wells Fargo from subjecting

                                    25   future applicants and employees to discriminatory criminal history screenings, 3)
                                    26
                                         injunctive relief requiring Wells Fargo to hire applicants and employees who were
                                    27
                                    28


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                                     1
                                         adversely affected by Wells Fargo’s criminal background screenings, and 4) other

                                     2   forms of equitable relief available under Title VII.
                                     3
                                                                        PRAYER FOR RELIEF
                                     4
                                     5   WHEREFORE, Plaintiff and the putative class he seeks to represent request the

                                     6   following relief against Wells Fargo:
                                     7
                                               1.     Declaring that Wells Fargo violated Title VII’s prohibition against
                                     8
                                     9   disparate impact discrimination with respect to the facts summarized above;
                                    10         2.     Declaring the Wells Fargo violated Title VII’s prohibition against
                                    11
                                         disparate treatment discrimination with respect to the facts summarized above;
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                                    12
                                               3.     Certifying a class or subclasses of African American and Hispanic
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                                    14
                                         employees and applicants who were subjected to the unlawful practices
                                    15
                                         summarized above;
                                    16
                                    17         4.     Granting Plaintiff and the putative class an injunction or equitable
                                    18
                                         relief that prohibits Wells Fargo from refusing to adopt the lesser discriminatory
                                    19
                                         alternative practices summarized above;
                                    20
                                    21         5.     Awarding Plaintiff and the putative class with full and fair
                                    22
                                         compensation for their injuries and damages, for punitive damages in an amount
                                    23
                                    24
                                         sufficient to punish Wells Fargo and deter others, for interest as allowed by law,

                                    25   for attorneys’ fees, for the costs of this action, for appropriate equitable and
                                    26
                                         injunctive relief, and for such other relief as may be just in the circumstances and
                                    27
                                    28   consistent with the purpose of Title VII.


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                                     1
                                     2        Dated: October 22, 2015
                                     3
                                                                                Respectfully submitted,
                                     4
                                     5
                                                                                      /s/Thomas W. Kielty
                                     6                                          THOMAS W. KIELTY
                                     7                                          Attorney for FIELDS-CAMPBELL

                                     8
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                                    10
                                    11
                                                                   DEMAND FOR JURY TRIAL
THOMAS W. KIELTY, ATTORNEY AT LAW




                                    12
                                              FIELDS-CAMPBELL hereby demands a trial by jury.
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                                    13
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                                    14
                                    15
                                                                                Respectfully submitted,

                                    16
                                    17
                                         Dated: October 22, 2015                      /s/Thomas W. Kielty
                                    18                                          THOMAS W. KIELTY
                                    19                                          Attorney for FIELDS-CAMPBELL

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